
PER CURIAM.
This matter is before the Court on Respondent’s Petition for Leave to Resign Permanently Pending Disciplinary Proceedings pursuant to article XI, Rule 11.08 of the Integration Rule of The Florida Bar.
The Florida Bar having now filed its response supporting the Petition for Leave to Resign and the Court having reviewed the same and determined that the requirements of Rule 11.08(3) are fully satisfied, the Petition for Leave to Resign Permanently Pending Disciplinary Proceedings is hereby approved.
It is so ordered.
BOYD, Acting Chief Justice, and OVER-TON, McDonald, EHRLICH and SHAW, JJ., concur.
